         Case 1:21-mj-01365-SCY Document 23 Filed 10/13/21 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )
vs.                                                   )              1:21-mj-01365-SCY
                                                      )
DOMINIC T THOMAS,                                     )
                                                      )
                       Defendant.                     )


             UNOPPOSED MOTION FOR PSYCHOLOGIAL EVALUATION
             AND FOR PAYMENT UNDER THE CRIMINAL JUSTICE ACT



       Defendant Dominic T. Thomas, by and through his counsel of record, Todd J. Bullion,

hereby moves the Court for an Order allowing a psychological evaluation ofthe Defendant be

conducted by an expert chosen by Defendant, Dr. Susan Cave, and as grounds for said motion,

Defendant states as follows:

       Mr. Thomas is charged by Complaint with Criminal Damage to Property via the

Assimilative Crimes Act, and violations of 36 CFR 1.5(f)(Superintendent’s closure violation)

and 36 CFR 2.13(a)(3)(Lighting fire in a manner that threatens, causes damage to, or results in

the burning of property, real property or park resources, or creates a public safety hazard).

       18 USCS § 4241 allows for a Court to Order a psychological examination and report. 18

       USCS § 4242 (a)(b)(c) provides:

               (a) Motion to determine competency of defendant. – At any time after the
               commencement of a prosecution for an offense and prior to the sentencing of the
               defendant, or at any time after the commencement of probation or supervised
               release and prior to completion of the sentence, the defendant or the attorney for
               the Government may file a motion for a hearing to determine the mental
               competency of the defendant. The court shall grant the motion, or shall order
               such a hearing on its own motion, if there is reasonable cause to believe that the
               defendant may presently be suffering from a mental disease or defect rendering
               him mentally incompetent to the extent that he is unable to understand the nature
               and consequences of the proceedings against him or to assist properly in his
               defense.
          Case 1:21-mj-01365-SCY Document 23 Filed 10/13/21 Page 2 of 3



       (b)     Psychiatric or psychological examination and report – Prior to the date of the
       hearing, the court may order that a psychiatric and psychological examination of the
       defendant be conducted, and that a psychiatric or psychological report be filed with the
       court, pursuant to the provisions of section 4247 (b) and (c).

       (c)    Hearing – The hearing shall be conducted pursuant to the provisions of section
       4247(d).


       In order to provide adequate representation to Mr. Thomas, counsel needs to initially

determine if he is competent. Following several attorney client phone calls with Mr. Thomas

counsel has a good faith belief that Mr. Thomas is currently suffering from an untreated mental

health condition which substantially impairs his ability to comprehend the proceedings in the

instant case. His understanding of the role of the government attorney, judge, and defense counsel

in the instant case are also questionable. Mr. Thomas is also at present not able to effectively

assist in his own defense.

       It would be in the best interests of justice to order a full competency evaluation of Mr.

Thomas. This competency information can be derived from a courtordered psychological

evaluation in order to receive a comprehensive report.

       § 4247 (c) governs the contents of the psychiatric or psychological report and provides in

pertinent part:

       A psychiatric or psychological report ordered pursuant to this chapter shall be prepared
       by the examiner designated to conduct the psychiatric or psychological examination, shall
       be filed with the court with copies provided to the counsel for the person examined and to
       the attorney for the Government, and shall include—

        (1) the person's history and present symptoms;
        (2) a description of the psychiatric, psychological, and medical tests that were
       employed and their results;
        (3) the examiner's findings; and
        (4) the examiner's opinions as to diagnosis, prognosis, and—

             (F) if the examination is ordered as a part of a presentence investigation, any
       recommendation the examiner may have as to how the mental condition of the defendant
       should affect the sentence.

       Mr. Thomas is indigent and his counsel has been appointed by the Court pursuant to the

Criminal Justice Act. Defendant therefore seeks this Court’s prior authorization to Dr. Susan
         Case 1:21-mj-01365-SCY Document 23 Filed 10/13/21 Page 3 of 3



Cave for purposes of conducting the psychological evaluation of Defendant. Assistant United

States Attorney Rumaldo Armijo does not oppose this motion.

       WHEREFORE, Defendant Dominic T. Thomas respectfully requests this Court to grant

his motion and order a psychological evaluation by Dr. Susan Cave and forauthorization of

payment of the expert through Criminal Justice Act funds.

                                                       Respectfully submitted,

                                                       /s/ Todd J. Bullion
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I hereby certify that a true and correct copy of the
foregoing was electronically submitted this
13th day of October, 2021 to:

Rumaldo Armijo
Assistant United States Attorney


/s/ Todd J.Bullion
Todd J. Bullion
